                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND

BRYCE CARRASCO,                               *

         Plaintiff,                           *

v.                                            *      Case No.: 1:21-CV-00532-SAG

M&T BANK,                                     *

         Defendant.                           *

*        *        *         *   *     *       *      *       *       *      *       *       *

                       DEFENDANT M&T BANK’S OPPOSITION TO
                  PLAINTIFF’S MOTION TO DISQUALIFY BRIAN MOFFET

         Defendant M&T Bank (“M&T”), through its undersigned counsel, opposes the Motion to

Disqualify Brian Moffet (ECF No. 112), filed by Plaintiff Bryce Carrasco (“Plaintiff”) and, in

support thereof, states as follows:

         1.       Plaintiff’s Motion to Disqualify M&T’s counsel in this case has no merit and

otherwise fails to meet the high standard necessary to disqualify an opposing party’s counsel of

choice. See Franklin v. Clark, 454 F. Supp. 2d 356, 364 (D. Md. 2006) (a moving party bears “‘a

high standard of proof to show that disqualification is warranted’ because it is such a drastic

measure”) (quoting Buckley v. Airshield Corp., 908 F. Supp. 299, 304 (D. Md. 1995)).

         2.       Because M&T employs in-house counsel, Plaintiff wants Mr. Moffet to be

disqualified from representing the bank in this case and replaced by one of the “full time lawyers

working for M&T” without regard to whether any of these lawyers are admitted to practice in this

Court. (ECF No. 112). The Motion to Disqualify fails at the threshold because Plaintiff does not

get to dictate who represents M&T. To the contrary, litigants have the “right to freely choose their

own counsel” and, in this case, M&T chose Mr. Moffet. Pennsylvania Nat. Mut. Cas. Ins. Co. v.




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Perlberg, 819 F. Supp. 2d 449, 452–53 (D. Md. 2011) (internal citations omitted). Whether there

are other potentially available attorneys who could competently represent the bank is not the

standard for disqualification not does it provide a basis for a party to seek disqualification of its

opponent’s counsel.

         3.       Rather, disqualification is only appropriate when counsel has engaged in conduct

that violates the Maryland Rules of Professional Conduct or otherwise undermines the integrity of

the proceedings. Penn Mutual Life Ins. Co. v. Berck, No. DKC 09-0578, 2010 WL 3294309, at *3

(D. Md. Aug. 20, 2010) (internal citations omitted). Plaintiff’s Motion to Disqualify fails to

articulate a single potential violation of the Maryland Rules of Professional Conduct by M&T’s

counsel, let alone satisfy the high standard of proof needed for the drastic remedy sought.

Accordingly, the Motion to Disqualify should be denied.

         WHEREFORE, Defendant M&T Bank respectfully requests that Plaintiff’s Motion to

Disqualify Brian Moffet be denied. A proposed Order is attached for the Court’s consideration.


                                               Respectfully submitted,


                                               /s/ Brian L. Moffet
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                                CERTIFICATE OF SERVICE

         I hereby certify that on September 20, 2021, I served a copy of the foregoing on the

following via ECF and via first class mail, postage prepaid:

                                            Bryce Carrasco
                                            334 Ternwing Drive
                                            Arnold, MD 21012


                                            /s/ Brian L. Moffet
                                            Brian L. Moffet (Fed Bar No. 13821)




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